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                                                                       (7 (1)             Notguilty                                               (3)                 Nolocontendere(no contest)
                                                                             (2)           Guilty                                    û! (4)                              Insanity plea

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         (c)Ifyou wenttotrial,whatkindoftrialdidyou have?(Checkone)
                      O Jury         Judge only
         Did you testify ata pretrialhealing,trial,orapost-trialhearing?
                      O Yes          No
         Didyouappealfrom thejudgmentofconviction?
                           Yes   D No
         Ifyou did appeal,answerthe following'
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         (g)Didyouseekfurtherreview by ahigherstatecourt?                                                                             O No
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          (h)DidyoufileapetitionforcertiorariintheUnitedSt esSupremeCourt?                                                                             O Yes                   No '
                  lfyes,answerthe following:
                  (1)Docketorcasenumber(ifyouknow):
                  (c)Result,                   -                                    f.
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                  (3)Dateofresult(ifyouknow):                                                                   1q
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                  (4)Citationtothecase(ifyouknow):                                                                                       i
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  10.     Otherthan thedirectappealslisted above,have you previously filed any otherpetitions,applications,orm otions
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          (a)     (1)Nameofcourt:


                  (3)Dateoffiling(ifyouknow):
                  (4)Natureoftheproceeding:
                  (5)Groundsraised:




                                             W 'No
                  (7)Result:


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  AO 241(Rev.09/17)




                  (1)Nameofcourt:


                  (3)Dateoffiling(ifyouknow):
                  (4)Natureoftheproceeding:
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                                                     (6)Didyoureceiveahearingwhereevidencewasgiven on yourpetition,application,ormotion?
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                               (d)Didyouappealtothehigheststatecourthavingjurisdictionovertheactiontakenonyourpetition,application,
                               orm otion?
                                                     (1)Firstpetition'
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                                                     (2) Secondpetition: (
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                                                     (3)Thirdpetition:                                          O Yes                                   No
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                               Forthispetition,stateevey groundonwhichyouclaim thatyouarebeingheldinviolationoftheConstitution,
                               laws,ortreatiesofthe Unlted States. Attach additionalpages ifyou have morethan fourgrounds. State the facts
                               supportingeach ground.Anylegalargum entsmustbesubm ittedinaseparatemem orandum.
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                               CAUTION:Toproceed in thefederalcourt.you mustordinarily firstexhaust(useup)youravailable
                               state-courtrem edieson each ground on which you requestaction by the federalcourt. Also,ifyou failto set
                               forth aIIthe groundsin thispetition,you m ay bebarred from presenting additionalgroundsata Iater date.
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 AO 241(Rev.09/17)
         DirectAppealofG round O ne:
         (1)lfyouappealedfrom thejudgmentofconviction,didyouraisethisissue?                                                      O No

         (2)Ifyoudidnotraisethisissueinyourdirectappeal,explain why:




         (1)Didyouraisethisissuethroughapost-conviction motion orpetition forhabeascorpusinastatetrialcourt?
                       Yes     O No
         (2)lfyouranswerto Question (d)(1)is'Yes,'state'
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         Typeofmotionorpetition:                    yO-#;''-V'J
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          (3)Didyoureceiveahearing on yourmotionorpetition?                                                      I
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          (4)Didyouappealfrom thedenialofyourmotionorpetition?                                                         Yes       (B No
          (5)lfyouranswertoQuestion(d)(4)is'Yes,'didyouraisethisissueintheappeal?                                      Yes         No
          (6)lfyouranswertoQuestion(d)(4)is'Yes,'state:
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          Ao 241(Rev.09/17)
          (e)OtherRemedies:Describeanyotherprocedures(such ashabeascorpus,administrativeremedies,etc.)thatyouhave
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               (d)              Post-conviction Proceedings:
                                (1)Didyouraisethisissuethroughapost-convictionmotionorpetition forhabeascopusinastatetrialcourt?
                                                                Yes                  O No
                                (2)IfyouranswertoQuestion(d)(1)is'Yes,'state:
                                Typeofmotionorpetition:                                                                                        . $
                                Nameandlocationofthecourtwherethemotionorpetitionwasfiled:                                                                                                                 C




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                    (3)Didyoureceiveahearingonyourmotionorpetition?                                                                      O Yes                    No
                    (4)Didyouappealfrom thedenialofyourmotionorpetition?                                                                           Yes        O No
                    (5)lfyouranswertoQuestion(d)(4)is'Yes,'didyou raisethisissuein theappeal?                                                      Yes        (
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                    (6)lfyouranswertoQuestion(d)(4)is''
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                    N ame and location ofthe courtwhere the appealwasfiled:


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                    (7)lfyouranswertoQuestion(d)(4)orQuestion(d)(5)is''
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        (e)         OtherRemedies:Describeanyotherprocedures(suchashabeascopus,administrativeremedies,etc.)thatyou
                        haveusedto exhaustyourstateremediesonGroundTw o:
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        (a)Supportingfacts(Donotargueorcitelaw.Juststatethespecificfactsthatsupportyourclaim.):
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            (1)Ifyouappealedfrom thejudgmentofconviction,didyouraisethisissue?                              Yes        O No
            (2)lfyoudidnotraisethisissueinyourdirectappeal,explainwhy:                    11
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            Pùst-convictionProceedings;
            (1)Didyouraisethisissuethroughapost-convictionmotionorpetitionforhabeascorptlsinastatetrialcourt?
                         Yes      D No
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            (2)lfyouranswertoQuestion (d)(1)is'Yes,'state:
            Type ofmotion orpetition'
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            N ame and location ofthe courtwhere the motion orpetition wasfiled:

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            (3)Didyoureceiveahealingonyourmotionorpetition?                                             D Yes              No
            (4)Didyouappealfrom thedenialofyourmotionorpetition?                                          Yes            O No
            (5)lfyouranswertoQuestion(d)(4)is''
                                              Yes,''didyou raisethisissueintheappeal? + 'Yes                             O No

            (6)lfyouranswertoQuestion(d)(4)is''
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                         (7)lfyouranswerto Question (d)(4)orQuestion (d)(5)is''
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          (c)            DirectAppealofGround Four:
                         (1)lfyouappealedfrom thejudgmentofconviction,didyouraisethisissue?                                                                                    Yes      I
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                         (2)lfyou didnotraisethisissueinyourdirectappeal,explainwhy:                                             '
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             (d)          Post-conviction Proceedings:
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                          (2)lfyouranswertoQuestion(d)(1)is''
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                          Type ofmotion orpetition:

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          (3)Didyoureceiveahearing onyourmotionorpetition?                                   O Yes        No
          (4)Didyouappealfrom thedenialofyourmotionorpetition?                                     Yes   O No
          (5)lfyouranswertoQuestion(d)(4)is''
                                            Yes,''didyouraisethisissueintheappeal?                 Yes
          (6)lfyouranswertoQuestion(d)(4)is''
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          Nam e and location ofthe courtwherethe appealwasfiled:


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     AO 241(Rev.09/17)
     13.     Pleaseanswertheseadditionalquestionsaboutthepetitionyou arefiling:
             (a)     Haveal1groundsforrelieft atyouhaveraisedinthispetitionbeenpresentedtothehigheststatecourt
                     havingjurisdiction?            Yes      I
                                                             D No
                     lfyouransweris''No,''statewhichgroundshavenotbeensopresented andgiveyourreasonts)fornot
                     presem ing them,      -..- -   r
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 '          (b)      lsthereanygroundinthispetition thathasnotbeenpresentedin somestateorfederalcourt? Ifso, which
                     ground orgroundshave notbeen presented, and stateyourreasonsfornotpresenting them :
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     14.    Have you previously filed any type ofpetition, application,ormotioninafederalcourtregardingtheconviction
            thatyou challenge in thispetition?          O   Yes             No




            ofany courtopinion ororder,ifavailable.




           thejudgmentyou arechallenging?              O    Yes

             '
           ralsed.




                                                                                                                    Page l3 of l6
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  16.         Give thenam eand address, ifyou know,ofeach attorney who represented you in the following stagesofthe

              judgmentyouarechallenging:
              (a)Atpreliminaryhearing:


              (b)Atarraignmentandplea:




             challenging?                  O Yes
             (a)Ifso,givenameandlocation ofcourtthatimposedtheothersentenceyouwillservein thefuture:
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             (b)Givethedatetheothersentencewasimposed: j.          j'/,
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             (c)Gi
                 vet helengthoftheothersentence: )        ,
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             (d)Haveyou'Iiled,ordoyouplantofile,anypetitionthatchallengesthejudgmentorsentencetobeservedinthe
             future?                      O                          No
 18.         TIMELm ESS OF PETITION:Ifyourjudgmentofconviction becamefinaloveroneyearago,you mustexplain
          why the one-yearstatute oflimitationsascontained in 28U .S.C.j2244(d)doespotbaryourpetition *
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  A0 241(Rev.09/17)




 *TheAntiterrorism andEffectiveDeathPenaltyActof1996(''AEDPA'
                                                            ')ascontainedin28U.S.C.j22444d)providesin
 partthat:
         (1)     A one-yearpeliodoflimitationshallapplytoanapplication forawritofhabeascorpusby aperson in
                 custody pursuanttothejudgmentofaStatecourt.Thelimitationperiodshallrunfrom thelatestof-
                 (A)    thedateonwhichthejudgmentbecamefinalbytheconclusionofdirectreview ortheexpiration
                        ofthetim eforseeking suchreview;
                        thedateon which the impedimentto tiling an application created by Stateaction in violation of
                        the Constitution orlawsoftheUnited Statesisrem oved,iftheapplicantwasprevented from
                        tiling by such state action;
                        the dateon which theconstitutionalrightasserted wasinitially recognized by the Supreme Court
                        iftherighthasbeennewlyrecognizedbytheSuprem eCourtandmaderetroactivelyapplicable to,
                        casesoncollateralreview ;or
                 (D)    thedateonwhichthefactualpredicateoftheclaim orclaimspresented couldhavebeen
                        discoveredthroughtheexerciseofduediligence.




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   AO 24l(Rev.09/17)
                    The time during which aproperly filed application forState post-conviction orothercollateralreview with
                    respecttothepertinentjudgmentorclaim ispendingshallnotbecountedtowardanyperiodoflimitation
                    underthissubsection.                                                                                         j
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   Therefore,petitionerasksthattheCourtcrantthefollowinarelief: - O, sk .
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                                                                            -attorney(irany)

  Ideclare(orcertify,verify,orstate)underpenaltyofperjurythattheforegoingistrueandcorrectandthatthisPetitionfor
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  Executed(signed)on




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                                                                                 Signature ofPetitioner
  Iftheperson signing isnotpetitioner,state relationship to petitionerand explain w hy petitionerisnotsigning thispetition.




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